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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE
                              CASE NO. 3:23-CR-65-1-DJH

                                      (Electronically filed)

UNITED STATES OF AMERICA                                                             PLAINTIFF


v


KELVIN ANDERSON                                                                     DEFENDANT


                                                    ORDER

         Motion having been made and this Court having been sufficiently advised;

         IT IS HEREBY ORDERED that the sentencing hearing in this matter scheduled for

December 6, 2023 is continued. The Court will issue a new sentencing date in a subsequent

Order.
